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                           UNITED STATES DISTRICT COURT
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                          EASTERN DISTRICT OF CALIFORNIA
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12
     SON VAN NGUYEN,                       CR. NO. 2:99-00433 WBS
13
                    Petitioner,            ORDER
14
           v.
15
     UNITED STATES OF AMERICA,
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                    Respondent.
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21               On June 23, 2016, the Ninth Circuit held that

22   petitioner Son Van Nguyen was authorized to file a successive

23   motion pursuant to 28 U.S.C. § 2255 and that he makes a prima

24   facie showing under Johnson v. United States, 135 S. Ct. 2551

25   (2015).    (Docket No. 1724.)     On June 24, 2016, petitioner filed a

26   motion pursuant to 28 U.S.C. § 2255.          (Docket No. 1725.)     The

27   United States shall file an opposition to petitioner’s motion no

28   later than July 27, 2016.      Petitioner may then file a reply no
                                          1
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 1   later than August 10, 2016.       The court will then take the motion
 2   under submission and will inform the parties if oral argument or
 3   further proceedings are necessary.
 4               IT IS SO ORDERED.
 5   Dated:   June 27, 2016
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